              Case 5:20-cv-00746-JKP Document 1 Filed 06/24/20 Page 1 of 13



                                                                                   FILED
                                                                                       JUN 2 4 2020
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                               UNITED STATES DISTRICT COURTVE STERNU.S.DIS1[1MOFCTE
                                WESTERN DISTRICT OF TEXAS
                                       SAN ANTONIO


  MELODY JOY CANTIJ AND DR. RODRIGO
                                                     SA20CA0746_JKP
                                                            No._______
                                                                Civil Action
  CANTU,
                                                                       COMPLAINT
                                    Plaintiffs,
 V                                                              JIJRY TRIAL DEMANDED

 DR. SANDRA GIJERRA and DIGITAL
 FORENSICS CORPORATION,

                                    Defendants.



       Plaintiffs Dr. Rodngo Cantu and Melody Joy Cantu ("Cantus"), through their attorneys,

complain as follows:


                                                  Intmduction

        1.      This is an action for violations of the federal Computer Fraud and Abuse Act, 18

U.S.C. § 1030   et.   seq.   ("CFAA"), the Texas Harmful Access by Computer Act ("HACA"), and

the Texas torts of malicious prosecution and intentional infliction of emotional distress.

       2.       Defendants Dr. Sandra GuelTa and Digital Forensics Corporation ("DFC")

hacked, surveilled, and damaged Plaintiffs' protected computers and computer networks without

authorization, and intentionally damaged those computers and networks and causing losses of

more than $5,000. Defendant Dr. Sandra Guerra's goal was the malicious prosecution of Plaintiff

Melody Joy Cantu,, getting her arrested on charges the prosecutor eventually dropped. Defendant
              Case 5:20-cv-00746-JKP Document 1 Filed 06/24/20 Page 2 of 13




DFC's goal was profits. DFC upsold Dr. (iuerra by urging her to file a police report in order to

get a Phase II report. The video footage of Dr. Guerra filing her false police report shows her

telling the officer that DFC requires her to file a police report. This campaign of hacking,

surveillance, damage, and malicious prosecution intentionally inflicted emotional distress upon

the Cantus, as well as costs and expenses to investigate and ameliorate these attacks. Thus, they

seek compensatory, consequential, and punitive damages.


                                           The Parties
         3.     Plaintiffs Melody and Dr. Rodriguez Cantu are married and citizens who reside in

Texas.

         4.     Defendant Dr. Sandra Guerra ("Dr. Guerra") is a natural person who, upon

information and belief, resides in San Antonio, Texas.

         5.     Defendant Digital Forensics Corporation is an Ohio based corporation, with an

office at 1100 NW Loop 410, #700, San Antonio, Texas 78213.1


                                    Jurisdiction and Venue
         6.     This Court has subject matter jurisdiction over these federal claims under 28

U.S.C. § 1331 and 1332, as the claims are federal questions under the Computer Fraud and

Abuse Act, 18 U.S.C. § 1030(a)(2XC), 1030(aX5XA)-(C) & 1030(g), because the actions

complained of resulted in loss of $5000 or more, and damage to ten or more computers, and




         'Digital Forensics Corp. San Antonio, TX, DIOrFAL   Foisics CoRPo1rnoN,
https://www.diita1forensics.com/locations/tx/san-pntonio (last visited June 22, 2020).

                                                     2
                Case 5:20-cv-00746-JKP Document 1 Filed 06/24/20 Page 3 of 13




happened within, or weren't discoverable until, the last two years from the date of this

Complaint.

        7.        For the claims brought under the laws of Texas, this Court has supplemental

jurisdiction under 28 U.S.C.   § 1367.   The harmful access by computer Tex. Civ. Prac. & Rem.

Code § 143.001, malicious pmsecution Davis v.      Prosperity Bank,2   and intentional infliction of

emotional distress under Twyman v. Twyman, 855 S.W.2C1 619,621(1993).

        8.        The Court has personal jurisdiction over the Defendants because Dr. Cantu

resides in the jurisdiction and Digital Forensics Corporation conducts business in the jurisdiction

through its San Antonio, TX division.

        9.        Venue is proper in the Western Division of Texas under 28 U.S.C. § 1391(b)

because the Defendants reside and/or conduct business in this judicial district and the events

complained substantially occurred in this District


                                                Facts

        10.      In August 2018, Dr. Cantu and Melody Joy Cantu lived in a home in San Antonio.

Dr. Cantu worked at a local hospital, and Melody Joy Cantu ran the house and raised her three

children.

        11.      Melody Joy Cantu and Dr. Rodngo Cantu are happily married. Dr. Rodrigo Cantu

has 2 children from his previous marriage to Defendant Dr. Sandra Guerra with whom he shared




       2
            See also, Richards v. Tebbe, 2014 Tex. App. LEXIS 697. *6 (Tex. App-Houston [14th

Dist.] 2014, no pet.) (citing Richey v. Brookshire Grocery Co., 952 S.W.2d 515, 517 (Tex. 1997).

                                                      3
                 Case 5:20-cv-00746-JKP Document 1 Filed 06/24/20 Page 4 of 13




custody. Even though Dr. Cantu and Dr. (3ueffa divorced a decade prior to this filing, Dr. (luerra

has repeatedly targeted the Cantu's in a campaign harassment motivated by herjealousy.

           12.    On or about May 16, 2018 Dr. Guerra hired Defendant Digital Forensics

Corporation to phish and spy on the Cantu's through their computers.

           13.    On August 21,2018 Digital Forensic Corporation sent Melody Joy Cantu a text to

her smartphone with a hidden tracking link: "Melody Joy Cantu clicked on the link, thinking it

was a nonnal business request. Melody, could you price this for me? Thx https:I/goo.gl/sCbwZZ.

Melody Joy Cantu clicked on the link, thinking it was a normal business request.

           14.    On August 22, 2018 Digital Forensics completed Phase I of its investigation. The

report states: "[I]f the client is interested in proceeding to Phase II, the client needs to file a

police.3   A sample police report was included in the Phase I report.4

           15.    The Digital Forensics Phase I report Digital Forensics also says that DFC had

created "tracking URLs" ("phishing links") and that Dr. Guerra needed "to include the link in a

message containing something the suspect might be interested enough to click on: DO NOT

MENTION THE REAL PURPOSE BEHIND THE LINK. The message could be something like

"I'd like to send you money," or "You will not believe this," along with that URL created for that

suspect. Be creative, but do not reveal what the link really is."5




       3(PHASE I REPORT, Ex       A at 25-26)

       4(Digital Forensics Corporation, Phase I Evaluation Report, Ex. A, 19(2018).)

            (PHASE IREPORT, Ex.   A at 17.)


                                                       4
                Case 5:20-cv-00746-JKP Document 1 Filed 06/24/20 Page 5 of 13




          16.     On August 29,2018 Dr. (luerra attorney received a notice of deposition from Dr.

Cantu's attorney in their custody proceedings at the time.

          17.     On September 4, 2018, Dr. Sandra (iuerra filed a police report against Melody

Joy Cantu falsely accusing her of harassment. The police bodycam footage of her report shows

Dr. (3uerra telling the police officer that Digital Forensics required her to file the report if she

wanted to proceed with Phase II of the investigation.

          18.     The case was dropped for lack of prosecution on speedy trial grounds.

          19.     On or about September 2018 Melody Cantu noticed that her internet connection

and computers was slowing down and acting malfunctioning. Initially, she suspected that it was

buggy software, slow connectivity, or the usual reasons one's internet connection slows down or

stops. When the connection grew worse, she called her cable and internet service provider

Spectrum Communications. Spectrum sent someone out to investigate the problem.

          20.     On September 19, 2018 Spectrum's representative examined the Cantu's cable

line leading into their house and discovered a cable signal splitter installed on their line that

neither the cable company nor the Cantus had put there.

          21.     A cable splitter is a type of wiretap that sends the data flowing through a cable to

more than one recipient6 It does so by providing two or more hardware points to connect to the




6
    "[lIt is absolutely possible to split a cable signal and still have enough signal strength to operate

a cable modem and feed HDTV signals to a QAM tuner (assuming the signal strength coming

into the house is sufficient). And the Cable Act of 1992 means that it is legal to do so. But every
                  Case 5:20-cv-00746-JKP Document 1 Filed 06/24/20 Page 6 of 13




physical cable. A cable splitter must be spliced in, or put on the end of, a cable. It can be used to

monitor the internet traffic coming in and out of a home.

            22.     On November 15, 2018 a Spectrum representative discovers the cable splitter had

been removed. There was no record of the splitter being removed by Spectrum. When Melody

Cantu logged in to her router, she discovered that the firewall settings had been set to allow

access to anyone and could not be reset by herself or by Spectrum when she called their internet

support line.

        23.         Beginning on January 3, 2019, the Cantus hired two computer forensics

companies, Exhibit A Computer Forensics Investigations and Kip & Associates, that discovered

that defendants Dr. Guerra and Digital Forensics Corporation hacking and surveilling the Cantus.

        24.         Digital Forensics illegally phished the Cantu's, in violation of Texas's Anti-

Phishing statute.7

        25.         With her Digital Forensics' Phase I report in hand, Dr. Guerra filed her police




time you split a cable or antenna signal, you lose at least 3 to 4 dB of signal strength. So if you're

splitting the signal 5 times, you could have as much as 15 to 20 db of loss in the signal by the

time it reaches your modem or tuner." Chris Boylan, Will a Cable Splitter Hurt My Modern             or

HDTVS1gna1 Strength?, BIG PICTURE BIG SoUND (Jan. 23, 2007),

https://www.bigpicturebigsound.comlsplit-cable-feed-hdtv-modem-999shtml.


                  Tex. Bus.   & Corn. Code § 324.051 et. seq. The code limits who has standing to sue
under it.   See   Id at § 324.101.
                Case 5:20-cv-00746-JKP Document 1 Filed 06/24/20 Page 7 of 13




report against Melody Cantu. The police video of Dr. Guerra's police report shows Dr. (luerra

saying that defendant Digital Forensics Corporation required her to make the police report.

          26.    Melody Cantu was arrested and arraigned.

          27.    The case was eventually dismissed on speedy trial grounds.


                            FIRST CAUSE OF ACTION
                                                      -
      COMPUTER FRAUD AND ABUSE ACT UNAUTHORIZED ACCESS TO A
                            PROTECTED COMPUTER
                               18 U.S.C. 1030(a)(2)(c)
         Against Defendants Sandra Guerra and Digital Forensics Corporation


          28.    Plaintiffs incorporate the above paragraphs by reference, as though fully set forth

herein.

          29.    Plaintiffs' computers are used in interstate commerce and comprise a "protected

computer" as that term is used in 18 U.S.C. 1030(e)(2)(B).

          30.    Plaintiffs maintained and secured their computers by reasonable means.

          31.    Defendants Dr. Guerra and Digital Forensics intentionally accessed the Cantus'

protected computer without authorization and thereby obtained information.

          32.    As a result of Defendants' conduct, the Cantus suffered loss in expending time,

money, and resources aggregating at least $5,000 in value, to investigate the intrusion, assess the

damage, and restore their systems to their prior state.


                     SECOND CAUSE OF ACTION
     COMPUTER FRAUD AND ABUSE ACT - UNAUTHORIZED DAMAGE TO A
                      PROTECTED COMPUTER
                         18 U.S.C. 1030(5XA)

          33.    Plaintiffs incorporate the above paragraphs by reference, as though fully set forth

herein.

                                                      7
                Case 5:20-cv-00746-JKP Document 1 Filed 06/24/20 Page 8 of 13




          34.    Plaintiffs' computers are used in interstate commerce and comprise a "protected

computer" as that term is used in 18 U.S.0      1030(eX2)(B).

          35.    Defendants Dr. Guerra and Digital Forensics knowingly caused the transmission

of a program, information, code, or command and intentionally caused damage without

authorization.

          36.    This transmission affected ten or more computers.

          37.    As a result of Defendants' conduct, the Cantus suffered damage when Defendants

impaired the integrity of their data.


                          TifiRD CAUSE OF ACTION
                                                          -
           COMPUTER FRAUD AND ABUSE ACT CONSPIRACY TO COMMIT
              UNAUTHORIZED ACCESS TO A PROTECTED COMPUTER
                        18 U.S.C. 1030(aX2)(c) & 1030(b)

          38.    Plaintiffs incorporate the above paragraphs by reference, as though fully set forth

herein.

          39.    Plaintiffs' computers are used in interstate commerce and comprise a "protected

computer" as that term is used in 18 U.S.C. 1030(e)(2)(B).

          40.    Plaintiffs maintained and secured their computers by reasonable means.

          41.    Defendants Dr. Guerra and Digital Forensics intentionally accessed the Cantus'

protected computer without authorization and thereby obtained information.

          42.    As a result of Defendants' conduct, the Cantus suffered loss in expending time,

money, and resources aggregating at least $5,000 in value, to investigate the intrusion and a

damages assessment.

          43.    Defendants Dr. Guerra conspired with the Digital Forensics to affect this

unauthorized access, in violation of 18 U.S.C. § 1030(b). Dr. Guerra took concerted action with

                                                      8
                Case 5:20-cv-00746-JKP Document 1 Filed 06/24/20 Page 9 of 13




Digital Forensics to participate in a series of unlawful acts. Defendants performed one or more

overt acts pursuant to and in furtherance of the common scheme.

          44.    As a result of this conspiracy, Plaintiffs suffered loss in attempting to protect their

rights against unauthorized access, downloading, and use of data and information stored in their

computers and in expending time, money, and resources (aggregating at least $5,000 in value) to

conduct an investigation into the intrusion and a damages assessment.

          45.    As a result of the conspiracy, Plaintiffs also suffered damage to their businesses

and goodwill.

          46.    Therefore, Plaintiffs are entitled to compensatory damages under the CFAA.


                      FOURTH CAUSE OF ACTION
                                                 -
   COMPUTER FRAUD AND ABUSE ACT AEMPT TO COMMIT UNAUTHORIZED
                  ACCESS TO A PROTECTED COMPUTER
                      18 U.S.C. 1030(aX2Xc) & 1030(b)

          47.    Plaintiffs incorporate the above paragraphs by reference, as though fully set forth

herein.

          48.    Plaintiffs' computers are used in interstate commerce and comprise a "protected

computer" as that term is used in 18 U.S.C. 1030(eX2)(B).

          49.    Plaintiffs maintained and secured their computers by reasonable means.

          50.    Defendants Dr. Guerra and Digital Forensics intentionally accessed the Cantus'

protected computer without authorization and thereby obtained information.

          51.    As a result of Defendants' conduct, the Cantu's suffered loss in expending time,

money, and resources aggregating at least $5,000 in value, to investigate the intrusion and a

damages assessment.

          52.   Defendant Dr. Guerra attempted with Digital Forensics to affect this unauthorized
                Case 5:20-cv-00746-JKP Document 1 Filed 06/24/20 Page 10 of 13




access, in violation of 18 U.S.C. § 1030(b). Dr. Guerra took concerted action with Digital

Forensics to participate in a series of unlawful acts. Defendants performed one or more

substantial acts pursuant to and in furtherance of the common scheme.

          53.    As a result of this conspiracy, Plaintiffs suffered loss in attempting to protect their

rights against unauthorized access, downloading, and use of data and information stored in the

their computers and in expending time, money, and resources (aggregating at least $5,000 in

value) to conduct an investigation into the intrusion and a damages assessment.

          54.    As a result of the conspiracy, Plaintiffs also suffered damage to their reputation

and occupation.


                                   FIPTH CAUSE OF ACTION
                               HARMFUL ACCESS BY COMPUTER
                              Tex. Civ. Prac. & Rem. Code § 143.001

          55.    Plaintiffs incorporate the above paragraphs by reference, as though fully set forth

herein.

          56.    Dr. Guerra and DFC violated § 33.02 of the Texas Penal Code by knowingly or

intentionally accessed the Cantos' computer, computer network, and/or computer system without

the Plaintiffs consent.

          57.    Dr. (iuerra and DFC violated § 33.02 of the Texas Penal Code by accessing the

Cantos' computer, computer network, and/or computer system with the intent to defraud or harm

the Cantos.

          58.    Dr. Guerra and DFC violated § 33.02 of the Texas Penal Code by accessing the

Cantos' computer, computer network, and/or computer system with the intent to alter, damage,

or delete the Cantos' property.

          59.    Dr. Guerra and DFC violated § 33.22 of the Texas Penal Code by accessing the
                                                       10
                Case 5:20-cv-00746-JKP Document 1 Filed 06/24/20 Page 11 of 13




Cantus' computer system or computer network without their consent with the intent to interrupt

or suspend access to their computer system or network.

          60.     The unauthorized access of the Cantus' computer, computer network, and/or

computer system resulted in injury to the Cantus by forcing them to hire investigators, Exhibit A

Computer Forensics Investigations and Kip & Associates to discover the source of the breach.

          61.     As a result of the unauthorized access the Cantus paid the investigators [$$$$] for

their services.

          62.     As a result of the unauthorized access the Cantus were deprived of the full access

and use of their computer system or computer network without their consent when the

connection was throttled by the presence of the cable splitter.

          63.     Pursuant to § 143.001 of the Texas Civil Practice and Remedies Code,

Defendants' knowing and intentional violation of           33.02 and 33.22 of the Texas Penal Code

makes Defendants liable in a     civil   action for harmful access of the Cantos' computer, computer

network, and/or computer system.


                                     SIXTh CAUSE OF ACHON
                                    MAUCIOUS PROSECUTION

          64.     Plaintiffs incorporate the above paragraphs by reference, as though fully set forth

herein.

          65.     Defendant Dr. (luerra conspired with Defendant Digital Forensics to commence a

criminal proceeding against Melody Joy Canto.

          66.     Defendant Digital Forensics touted the idea of filing police reports for them to

continue their "so called" investigation.

          67.     The prosecution against Plaintiff Melody Joy Canto was in her favor as the case


                                                         11
              Case 5:20-cv-00746-JKP Document 1 Filed 06/24/20 Page 12 of 13




was dismissed sue to the violation of her constitutional right to a speedy trial.

        68.     Plaintiff Melody Cantu was innocent in the charge of Harassment by Defendant

Dr. Guerra.

        69.     The proceeding lacked probable cause as there was no evidence pointing to

Defendant's claim of harassment by Plaintiff Melody Joy Canto.

        70.     The Defendants conspired to commence the criminal proceeding and it was filed

with malicious intent by Defendant Dr. Guerra to pursue an in-depth investigation into Plaintiffs,

as well as harass them.

        71.     As a result of the malicious prosecution, Plaintiff Melody Joy Canto suffered loss

in paying attorney's fees for representation in the criminal matter.

        72.     As a result of the malicious prosecution, Plaintiffs also suffered damage to their

reputation and occupation.

        73.     As a result of the malicious prosecution, Plaintiff Melody Joy Canto suffered as

emotional harm stemming from her arrest.


                                  SEVENTH CAUSE OF ACTiON
                              Intentional Infliction of Emotional Distress

        74.    Defendants Dr. Guerra and Digital Forensics acted intentionally or recklessly by

engaging in a malicious prosecution of Melody Canto and the cyberstalking of the Cantos.

        75.     The Defendants conduct was extreme and outrageous because it opened the

Cantos up to identity theft and wrongful legal actions.

       76.     The actions of Defendants cased Plaintiffs emotional distress by putting the

Cantos in a state of prolonged and sustained fear for their safety and privacy through repeated

false charges, false investigations, and digital surveillance.

                                                      12
            Case 5:20-cv-00746-JKP Document 1 Filed 06/24/20 Page 13 of 13




                                       Prayer for Relief

       WHEREFORE, Plaintiffs respectfully requests that the Court enter judgment in its favor

and award the following relief against Defendants:

       a. An award against Defendants Dr. Guerra and Digital Forensics for compensatory

       damages plus interest and costs;

       b. An award against Defendant consequential damages,

       c. That the Court award punitive damages in an amount to be detennined at trial;

       d. That the Court award Plaintiffs its attorney's fees and expenses; and

       e. That the Court award Plaintiffs such other and further relief as   is just and proper under

       the circumstances.



       Dated: June 23, 2020

                                                      Respectfully submitted,



                                                          I,,'
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                                                      and Melody Cantu



                                                     13
